Case 1:04-cr-00015-PLM           ECF No. 223, PageID.613            Filed 11/03/05       Page 1 of 7




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION
                                   _____________________

UNITED STATES OF AMERICA,
                                                               Case No. 1:04-CR-15-02
               Plaintiff,

v.                                                             Hon. Richard Alan Enslen

GERARDO MEJIA,
                                                               OPINION
            Defendant.
_____________________________/


       This matter is before the Court on Defendant Gerardo Mejia’s Motion under 28 U.S.C. §

2255 to Vacate, Set Aside, or Correct Sentence. The Government has answered the Motion in

opposition. Defendant has failed to file a timely reply. Further hearing is unnecessary in light of the

Court’s review of the record pursuant to Rule 8(a) of the Rules Governing Section 2255 Proceedings

for the United States District Courts.

       BACKGROUND

       On May 24, 2004, Defendant pled guilty to conspiracy to distribute and possess with intent

to distribute cocaine and marijuana. He admitted responsibility for distributing a marijuana

equivalent of 435 kilograms of cocaine and marijuana. (Pre-Sentence Investigation Report ¶ 5.)

His written Plea Agreement contained the admission that he was responsible for between 400 and

700 kilograms of marijuana equivalent of controlled substances. (Plea Agreement ¶ 7.) By the same

Agreement, he admitted to acting as a manager or supervisor of criminal activity, but not more, for

the purpose of scoring under U.S.S.G. § 3B1.1. (Id.) In said Agreement, he also acknowledged his

understanding that no promise was made as to the sentence he would receive other than it would not
Case 1:04-cr-00015-PLM           ECF No. 223, PageID.614            Filed 11/03/05       Page 2 of 7




exceed the statutory maximum. (Id. at ¶ 9.) This Plea Agreement was prudentially reached by

Defendant and defense counsel since, at the time, other conspiracy members had already pled guilty

and were prepared to cooperate against Defendant in the event of trial. (See, e.g., Plea Agreement

of Rolando Reyna ¶ 5.)

       Defendant was sentenced on September 1, 2004 to a term of 97 months (the low end of a

guideline range of 97 to 121 months). This sentence and sentencing range was based on a total

offense level of 28 and a criminal history category of III. He and his counsel did not make guideline

objections, nor could have they since the basic facts dictating the criminal scoring were agreed as

part of the Plea Agreement and were otherwise readily proven. As part of the sentence, the Court

also recommended that Defendant be enrolled as part of the Bureau of Prisons’ 500-hour substance

abuse program. This recommendation makes Defendant eligible for a discretionary reduction of

sentence not to exceed one year if he successfully completes the program and fulfills the program

criteria for a sentencing reduction. See 28 C.F.R. § 550.58. Defendant did not timely appeal his

conviction.

       On or about September 2, 2005, Defendant filed the instant Motion. Defendant raises four

grounds in his Motion: (1) defense counsel was ineffective in advising Defendant to plead guilty and

misinformed Defendant that he would receive less than seven years in prison if he pled guilty; (2)

he is entitled to relief under United States v. Booker, 125 S. Ct. 738 (U.S. 2005) concerning the

scoring of his drug quantities; (3) defense counsel was ineffective for failing to object to the

enhancement of his sentence generally under the United States Sentencing Guidelines; and (4)

counsel was ineffective for failing to object to the criminal history scoring in light of United States

v. Shepard, 125 S. Ct. 1254 (U.S. 2005).


                                                  2
Case 1:04-cr-00015-PLM          ECF No. 223, PageID.615            Filed 11/03/05      Page 3 of 7




       LEGAL STANDARDS

       The Sixth Circuit Court of Appeals’ decision in Watson v. United States, 165 F.3d 486, 488

(6th Cir. 1999) summarized the basic legal standards for relief under section 2255 as follows:

       To prevail on a § 2255 motion alleging constitutional error, the petitioner must establish an
       error of constitutional magnitude which had a substantial and injurious effect or influence
       on the proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637-638, 113 S.Ct. 1710,
       1721-1722, 123 L.Ed.2d 353 (1993). To prevail on a § 2255 motion alleging
       non-constitutional error, the petitioner must establish a “‘fundamental defect which
       inherently results in a complete miscarriage of justice,’ or, an error so egregious that it
       amounts to a violation of due process.” United States v. Ferguson, 918 F.2d 627, 630 (6th
       Cir.1990) (citing Hill v. United States, 368 U.S. 424, 428, 82 S.Ct. 468, 471, 7 L.Ed.2d 417
       (1962)).

Id. Technical violations of the sentencing guidelines do not warrant relief under the statute. See

Grant v. United States, 72 F.3d 503, 505-06 (6th Cir. 1996) (holding that a guideline calculation

dispute was not a “constitutional error” warranting relief under section 2255).

       Furthermore, relief under section 2255 is not intended to do service for an appeal. United

States v. Timmreck, 441 U.S. 780, 784 (1979). A movant must ordinarily show “cause” for failure

to raise the issue on direct appeal and “actual prejudice” resulting from the error. Murr v. United

States, 200 F.3d 895, 900 (6th Cir. 2000) (citing United States v. Frady, 456 U.S. 152, 164-67

(1982)). See also Maupin v. Smith, 785 F.3d 139 (6th Cir. 1986); Gonzales v. Elo, 233 F.3d 348,

353 (6th Cir. 2000); Jacobs v. Mohr, 265 F.3d 407, 417 (6th Cir. 2001).

       Under certain circumstances, constitutionally ineffective assistance of counsel may constitute

both a violation of Defendant’s Sixth Amendment rights and “cause” for the failure to raise issues

on direct appeal. The United States Supreme Court’s bell-weather decision on effective assistance

of counsel is Strickland v. Washington, 466 U.S. 668 (1984). Under Strickland, to establish

ineffective assistance of counsel, the movant must show both that counsel’s performance was


                                                 3
Case 1:04-cr-00015-PLM           ECF No. 223, PageID.616            Filed 11/03/05       Page 4 of 7




deficient and that the deficient performance prejudiced the defense. Id. at 687. In gauging counsel’s

performance, the Supreme Court emphasized that,

       Judicial scrutiny of counsel’s performance must be highly deferential. It is all too
       tempting for a defendant to secondguess counsel’s assistance after conviction or
       adverse sentence, and it is all too easy for a court, examining counsel’s defense after
       it has proved unsuccessful, to conclude that a particular act or omission of counsel
       was unreasonable. . . . A fair assessment of attorney performance requires that every
       effort be made to eliminate the distorting effects of hindsight, to reconstruct the
       circumstances of counsel’s challenged conduct, and to evaluate the conduct from
       counsel’s perspective at the time. Because of the difficulties inherent in making the
       evaluation, a court must indulge a strong presumption that counsel’s conduct falls
       within the wide range of reasonable professional assistance; that is, the defendant
       must overcome the presumption that, under the circumstances, the challenged action
       “might be considered sound trial strategy.”

Id. at 689 (citations omitted). In determining prejudice, the courts are to determine whether, “there

is a reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different. A reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Id. at 694.

       LEGAL ANALYSIS

       1. Booker Arguments

       Of Defendant’s four arguments, two of the arguments, the second and third, flow from the

Booker decision. It is true, since Defendant was sentenced before Booker, that his sentencing did

not comply with the Booker procedures and an appeal would have likely resulted in a remand for the

purpose of achieving compliance with the Booker procedures.1 With that said, however, Defendant

is not entitled to relief. First of all, this Circuit has ruled that the Booker decision does not apply



       1
        Defense counsel (Paul Denenfeld) did act to preserve Blakely v. Washington, 124 S. Ct.
2531 (U.S. 2004) objections. See Sentencing Mem., 2 n.2. However, it appears that Defendant
simply chose to forego appeal in light of the Plea Agreement struck.

                                                  4
Case 1:04-cr-00015-PLM           ECF No. 223, PageID.617            Filed 11/03/05       Page 5 of 7




retroactively such that it does not cover sentences which were final due to lack of appeal prior to

Booker (such as Defendant’s sentence). See Humphress v. United States, 398 F.3d 855, 860 (6th Cir.

2005). Second, while it is clear that Defendant is arguing that counsel was ineffective for not further

anticipating the Booker decision, the Strickland standard does not require that defense counsel

possess that kind of crystal ball. It does require that counsel make reasonable strategic decisions and

provide Defendant with intelligent legal advice. It appears that counsel met and exceeded the

Strickland standards in the context of this representation and in negotiating this Plea Agreement.

The Plea Agreement resolved the scoring issues by reaching a non-binding arrangement concerning

the scoring which was acceptable to both the Government and Defendant. Defendant benefitted

from that arrangement because he did not receive certain enhancements which were considered, such

as a firearm enhancement (see Plea Agreement ¶ 7.B), which enhancements would have had the

likely effect of not only increasing his guideline scoring but also making Defendant ineligible for a

sentencing reduction under 28 C.F.R. § 550.58(a)(vi)(B). This was highly effective representation

especially since, at the time, the prevailing opinion in this Circuit was that the Supreme Court’s

decision in Blakely v. Washington, 124 S. Ct. 2531 (2004), would not result in relief to federal

criminal defendants. See United States v. Koch, 383 F.3d 436 (6th Cir. Aug. 26, 2004) (en banc ),

overruled by United States v. Booker, 125 S. Ct. 738 (U.S. 2005). For all of these reasons, the Court

finds Defendant’s second and third Booker arguments unavailing.

       2. Shepard Argument

       In his fourth ground, Defendant is also urging this Court to find fault with counsel for not

anticipating another 2005 decision by the United States Supreme Court, referring to its decision in

Shepard. This argument does not work in the context of Defendant’s sentence. First of all, the


                                                  5
Case 1:04-cr-00015-PLM           ECF No. 223, PageID.618            Filed 11/03/05      Page 6 of 7




Shepard case concerned an application of the Armed Career Criminal Act (18 U.S.C. § 924(e)),

which is not at all pertinent to this Defendant. See Shepard, 125 S. Ct. at 1263. Second, the Shepard

holding, while it reversed the law of the Third Circuit, did not reverse or overturn the law of this

Circuit, which was consistent with the holding in Shepard. Third, while certain dicta in Shepard

may have suggested that the rule in Booker requires criminal history scoring to be submitted to a jury

for factual finding, this application has been so far rejected by the Sixth Circuit. See United States

v. Barnett, 398 F.3d 516, 524-25 (6th Cir. 2005) (holding that Booker, Blakely and Apprendi v. New

Jersey, 530 U.S. 466 (2000) do not require enhancements premised on the nature of past convictions

to be submitted to a jury for factual findings). Therefore, the dicta and holding in Shepard do not

merit relief.

        3. Sentencing Prediction Performance

        Finally, the first ground urged by Defendant accused defense counsel of making a false

sentencing prediction. This ground is contradicted by the language of the plea agreement–which

expressly declined any prediction other than the sentence would be less than the statutory maximum

(which in the Court’s experience is the only kind of prediction in which experienced defense counsel,

such as Mr. Denenfeld, would have engaged). Furthermore, the statement, if considered a prediction

of actual prison time to be served, was most likely accurate–considering that prisoners may get

potential reductions for good behavior and pre-release custody under 18 U.S.C. §§ 3624(b)(1) and

(c) and considering the potential for a reduction of time due to successful completion of the 500-hour

substance abuse treatment program under 28 C.F.R. § 550.58. Even if Defendant was somehow

tricked by a false prediction, it did not cause him prejudice. His plea was a foregone conclusion

given that fellow conspiracy members were cooperating with the Government. The terms of the Plea


                                                  6
Case 1:04-cr-00015-PLM            ECF No. 223, PageID.619           Filed 11/03/05       Page 7 of 7




Agreement were wholly reasonable and the product of arms-length bargaining. Therefore, Defendant

is not entitled to relief on the first ground raised.

        CERTIFICATE OF APPEALABILITY

        Pursuant to 28 U.S.C. § 2253(c), the Court must also assess whether to grant the issuance of

a certificate of appealability to Defendant. See Castro v. United States, 310 F.3d 900, 903 (6th Cir.

2002) (holding that § 2253 analysis may be done at the time the claim for relief is determined).

Under the statute and the United States Supreme Court’s determinations in Slack v. McDaniel, 529

U.S. 473, 483-84 (2000) and Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983), a certificate is to

be issued if the resolution of the petition is debatable among reasonable jurists or otherwise adequate

to deserve encouragement. Upon review of the four grounds raised, the Court determines that this

standard is not met as to any of the grounds asserted. In light of the case law and principles

discussed, the positions maintained by Defendant are not reasonably debatable nor do they otherwise

deserve encouragement on appeal.

                                            CONCLUSION

        For the reasons given, a Final Order shall enter denying the section 2255 motion and denying

a certificate of appealability as to all issues asserted.

                                                 /s/ Richard Alan Enslen
DATED in Kalamazoo, MI:                          RICHARD ALAN ENSLEN
    November 3, 2005                             SENIOR UNITED STATES DISTRICT JUDGE




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